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           Carolyn Smith, et al. v. Jefferson
              County, Mississippi, et al.

                               Carolyn Smith

                               April 18, 2025




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                                     EXHIBIT 9
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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                             WESTERN DIVISION

            CAROLYN SMITH, ET AL
                                                                 PLAINTIFFS

            V.               CIVIL ACTION NO. 5:24-CV-0072-DCB-ASH

            JEFFERSON COUNTY,
            MISSISSIPPI, ET AL
                                                                 DEFENDANTS


                         DEPOSITION OF CAROLYN SMITH


           Taken at the instance of the Defendants at the Law
             Offices of Carroll Rhodes, 119 Downing Street,
                Hazlehurst, Mississippi 39083, on Friday,
                             April 18, 2025,
                          beginning at 8:53 a.m.




                                    REPORTED BY:
                         ROBIN G. BURWELL, CCR #1651



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      1   APPEARANCES:                                        1                   CAROLYN SMITH,
      2                                                       2      having been first duly sworn, was examined and
      3     CARROLL RHODES, ESQ.
            Law Offices of Carroll Rhodes                     3      testified as follows:
      4     Post Office Box 588                               4      EXAMINATION BY MR. CARPENTER:
            Hazlehurst, Mississippi 39083                     5          Q. Ms. Smith, I'm Tom Carpenter. I
      5     crhode@bellsouth.net
      6                                                       6      represent Sheriff Bailey and Jefferson County.
              COUNSEL FOR PLAINTIFF                           7          A. Okay.
      7                                                       8          Q. And this deposition, we are going to
      8
            THOMAS L. CARPENTER, ESQ.                         9      push to go for an hour.
      9     Wise, Carter, Child & Caraway                    10          A. Yes, sir.
            2510 14th Street, Suite 1125                     11          Q. Because we have every one on one day.
     10     Gulfport, Mississippi 39501
            tlc@wisecarter.com                               12      I've spent a few hours going through everything so
     11                                                      13      that we can sort of get to, I think, what the
     12       COUNSEL FOR DEFENDANT                          14      important stuff is.
     13
     14   ALSO PRESENT:
                                                             15              You'll hear a couple of things in a
     15                                                      16      minute with Carroll and it's what's going to be
            Shaquita McComb                                  17      called as the "usual stipulations."
     16     Bonita Blake
            Sandra Sanders
                                                             18              MR. RHODES: Yes.
     17     James Ellis, Jr.                                 19          Q. (By Mr. Carpenter) And Carroll says
     18                                                      20      yes. What that means is, because we don't have a
     19
     20
                                                             21      judge here today, we're waiving all of the
     21                                                      22      objections that we would make in trial, like
     22                                                      23      hearsay. He said this, you said this. You know,
     23                                                      24      hear say. Well, it's okay today because we're
     24
     25                                                      25      here to get information and so whoever said


                                                 Page 3                                                      Page 5
      1                        INDEX                          1      whatever, that's perfectly fine. And since we
      2     Style.......................................1     2      don't have a judge, we got no one to make
      3     Appearances.................................2     3      decisions anyway about whether something's
      4     Index ....................................3       4      admissible.
      5     Certificate of Deponent ..................80      5             So we waive everything but for two
      6     Certificate of Court Reporter .............81     6      things. Number one, privilege. You have a legal
      7                     EXAMINATIONS                      7      privilege so that anything you discuss about with
      8     Examination By Mr. Carpenter ...............4     8      Mr. Rhodes, other than like the facts of the case,
      9     Examination By Mr. Rhodes .................72     9      like your last day of employment, you might have
     10     Examination By Mr. Carpenter ..............76    10      mentioned that to him, but that's something we can
     11                       EXHIBITS                       11      find out about. Legal theories, what he thinks
     12     Exhibit 1 Notice ..........................57    12      about the case, that's between you and him, isn't
     13     Exhibit 2 Medical Records .................57    13      my business. So we won't be asking that.
     14     Exhibit 3 Org Chart .......................73    14             And as far as medical goes, I've looked
     15                                                      15      at your complaint and see what you're looking for.
     16                                                      16      Certain things would be waived by that, like
     17                                                      17      emotional distress. A lot of things won't. So
     18                                                      18      we'll really be focusing -- I know you've had some
     19                                                      19      -- you mentioned that you've had upset stomach and
     20                                                      20      things like that, so we might cover it. We won't
     21                                                      21      cover likes that are at issue.
     22                                                      22             Like, if you have a foot pain, well,
     23                                                      23      unless you tell me the foot pain happened because
     24                                                      24      of this, then I'm not going to be getting into
     25                                                      25      your foot pain.


                                                                                      2 (Pages 2 to 5)
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      1       A. Yes, sir.                                      1     board?
      2       Q. So that's privilege.                           2         A. Yes, sir.
      3          The other thing is form. And we may            3         Q. What else do you do?
      4   object and we may say "form" and maybe even a         4         A. Right now I work at Alcorn State
      5   couple of words like "argumentative" or               5     University as a greeter.
      6   "speculative." All that means is me and him are       6         Q. And when did you start with Alcorn
      7   putting objections, which are placeholders. So        7     State?
      8   when we read your deposition, we'll go ah-ha, I       8         A. I started September the 1st of 2024.
      9   know I said something about that, and then we can     9         Q. Okay. And your position is greeter?
     10   mark it. But we'll waive all of that.                10         A. Is a greeter.
     11          But a form objection is a badly worded        11         Q. Very good.
     12   question, and we fix those as we go. So if I were    12            And how much does that pay?
     13   to ask you five questions, and here we go: Name,     13         A. 10.65.
     14   age, Social Security number, address. Now,           14         Q. Okay.
     15   starting from the top -- and he's going to say       15         A. No, 10.30 -- I think 10.35. I'm sorry.
     16   well, I'm going to object to the form. That's a      16         Q. That's no problem.
     17   multiple question and people can't keep all that     17            And in December of 2023, which is the
     18   in their head, and he would be right. So that's      18     last month I understand you worked for
     19   just a badly worded question.                        19     Jackson{sic} County --
     20          And the other thing you will hear is          20         A. Jefferson.
     21   something called read and sign. And --               21         Q. JC -- correct. I'm thinking Jackson --
     22          MR. RHODES: We'll read and sign.              22     I see JC and I think that's correct.
     23       Q. (By Mr. Carpenter) And you've got to          23            JFCO, Jefferson Franklin Correction
     24   read and sign. So what that means is our court       24     Office. How much were you making in December of
     25   reporter will take down what we're saying here       25     '23?


                                                 Page 7                                                        Page 9
      1   today and she'll give you a nice book at the end      1          A. Approximately about 18 or $19, because I
      2   of it. You get to review it, and if there's           2      had just got a raise before I left.
      3   things that you think you said that differ than       3          Q. Okay. All right. And how much do you
      4   what the court reporter has, you can say what         4      make as a school board member?
      5   page, line and I meant to say "no" and it's got       5          A. $300 a month, and that is tax.
      6   "not" and it's supposed to be "no." And you           6          Q. I received a school board stipend for a
      7   annotate and that gets notarized and becomes a        7      long time, so I'm familiar with that.
      8   part of the overall deposition.                       8             Is there any -- and I wouldn't think
      9          So that's what reading and signing's all       9      there is. But is there any addition monthly pay
     10   about.                                               10      you get from that for being the president, or just
     11       A. Yes, sir.                                     11      you get what every other --
     12       Q. With that having being said, I think we       12          A. Everybody gets the same as a member.
     13   can get started. If you'll give me your full         13          Q. Okay. Now, I understand -- well, we'll
     14   name, Ms. Smith.                                     14      start with some other just basic background.
     15       A. Carolyn Smith.                                15             Some of these questions, by the way,
     16       Q. And where do you live in terms of your        16      because -- we call this a private deposition,
     17   address now?                                         17      which is when this thing's over with these, things
     18       A. I live at 16 Barnes Lane in Union             18      are on their way to the City dump, after they've
     19   Church, Mississippi in Jefferson County.             19      been shredded. So when I ask you for like age,
     20       Q. How long have you lived there?                20      don't worry, we ain't putting it on Facebook.
     21       A. All of my life.                               21             But how old are you now?
     22       Q. Very good.                                    22          A. 57.
     23          And what do you do currently as an            23          Q. Okay. And your educational background.
     24   occupation? And I know you're on the school          24      I think you graduated from high school?
     25   board; in fact, you're the president of the school   25          A. Yes, sir.


                                                                                        3 (Pages 6 to 9)
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      1       Q. Did you attend any other schools, like         1          Q. Okay. Did you also go at times to
      2   either at Alcorn or Co-Lin?                           2      Bounds Family Medicine?
      3       A. No. I went to Co-Lin one semester for          3          A. I did.
      4   EMT.                                                  4          Q. So it would have been Bounds Family
      5       Q. Got it. Now, between December the 31st         5      Medicine that had seen you during this period of
      6   of 2023 and September the 1st of 2024, did you        6      time?
      7   work anywhere?                                        7          A. Yes, sir.
      8       A. No, sir.                                       8          Q. And Jefferson County Health --
      9       Q. And in that period of time, did you            9          A. Jefferson Comprehensive Health Clinic.
     10   apply to places to work?                             10          Q. Got it. Excellent.
     11       A. I did.                                        11             And I may have asked this question. Do
     12       Q. And where was that?                           12      you know what your medical bills are in terms of a
     13       A. I applied at Sanderson Farms. I applied       13      dollar amount related --
     14   at Wal-Mart distribution. I applied at Wal-Mart      14          A. I really don't, because I've got sick
     15   store. I applied for -- at Adams County              15      during the course of time and I had to go to
     16   Correctional Facility. That's the federal prison     16      King's Daughters Medical Center and I know that
     17   on Highway 84. And, of course, I applied twice at    17      bill ran up.
     18   Alcorn State University.                             18          Q. Now, when you went to King's Daughters
     19       Q. Okay. And so ultimately in September of       19      Medical Center, did that have to do with --
     20   2024, you started with -- you started there?         20          A. Very stressful, yes, sir.
     21       A. Yes, sir.                                     21          Q. Okay. So what did they treat you for?
     22       Q. Okay.                                         22          A. They treated me for anxiety, stress,
     23       A. But I did have an interview at the            23      loss of weight. It was just a number of things I
     24   correctional facility in Adams County.               24      was...
     25       Q. Okay. I used to represent that sheriff        25          Q. Who did you see there?


                                                Page 11                                                      Page 13
      1   as well. Roosevelt. That's been a long time ago.      1         A. It was a doctor in the emergency room.
      2   That's been 20 years ago.                             2         Q. All right. And how many times did you
      3       A. Yes, sir.                                      3      go to King's Daughters?
      4       Q. Okay. Now, for medical bills. Do you           4         A. Once.
      5   know how much your medical bills are?                 5         Q. Okay. Do you know when -- about when
      6       A. Well, my medical bill ran up. I                6      that was?
      7   couldn't afford to pay my medical bills --            7         A. Approximately, it must have been in May
      8          MR. RHODES: Object as to the form.             8      or June, something like that.
      9       Q. (By Mr. Carpenter) If you know.                9         Q. 5, 6 of '24. And what did they
     10          MR. RHODES: The only reason, you              10      prescribe for you or suggest for you?
     11   limited it to medical bills related to treatment     11         A. Well, they gave me a whole list of
     12   for --                                               12      medicine. It was some anxiety medicine, sleeping
     13       Q. (By Mr. Carpenter) Oh, of course.             13      medicine. During that time I think I had a sinus
     14   Correct. Yeah. And you can assume when we talk       14      infection. Stuff like that.
     15   about medical records or bills, we're concerned      15         Q. Okay. So when you went to King's
     16   about related medical records and bills.             16      Daughters you were dealing both with anxiety,
     17          Do you know what your medical bills are       17      depression and sinusitis?
     18   related to what happened in late the 2023 at JC --   18         A. Yes, sir.
     19   Jefferson Franklin?                                  19         Q. Gotcha. Okay.
     20       A. Well, I only had insurance one month          20             Now, just some general questions that
     21   after that. After that, my insurance decreased       21      will be questions that everybody will get, and
     22   and I could only afford to go to a comprehensive     22      then we'll go specifically into your contentions
     23   clinic where I paid $25. And the medicine that       23      from the complaint, through disclosures, through
     24   was so expensive that I couldn't afford my           24      your discovery and then through medical bills,
     25   medicine because I didn't have insurance.            25      too, or medical records, which we have.


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      1          Because of what happened -- and I'm just       1          Q. But the job with Alcorn State, that's
      2   going to say at JF, Jefferson Franklin. Because       2      working out?
      3   of what happened at JF, other than this period of     3          A. It's working out, but it's not what I
      4   time that you were out of work, do you feel           4      was used to making there. It's like now I'm
      5   physically or emotional unable to work in any way?    5      living from paycheck to paycheck. Because every
      6       A. Yes, because it was something that I had       6      time I get a check I have to pay a bill or try to
      7   to learn to do all over. Which on this job, I had     7      get caught up from things that I was behind on.
      8   been there for 27-and-a-half years. It made me        8          Q. All right. Do you have any plans to --
      9   mentally embarrassed, emotional distress. I           9      because I know -- upon reviewing your discovery,
     10   couldn't think, couldn't eat, couldn't sleep, loss   10      you're working like in -- you had your school
     11   of weight, loss of hair.                             11      board salary, you were working for JF, and you
     12       Q. Okay. All right. And because of that          12      were also working in other -- did you have more
     13   you treated with King's Daughters once in            13      than one job during that period of time while you
     14   Brookhaven?                                          14      were at JF, or were you only working there?
     15       A. Yes.                                          15          A. While I was inside the building?
     16       Q. And I think you said you went once to         16          Q. Yes.
     17   Jefferson County Comprehensive because of            17          A. I had multiple positions and roles that
     18   insurance issues?                                    18      I was taking on inside the facility.
     19       A. Yes, sir.                                     19          Q. I'm sorry. I mean were you working
     20       Q. Got it. Okay.                                 20      anywhere other than the facility?
     21          As far as physical pain, in your              21          A. No, sir.
     22   interrogatories you mentioned, well, diarrhea?       22          Q. All right. Are you looking for a second
     23       A. Yes, sir.                                     23      job to supplement the income you get as a greeter?
     24       Q. How long did that go?                         24          A. Well, it's hard to try to get another
     25       A. Diarrhea lasted me than like two weeks        25      job to fit in with the schedule that I'm on now.


                                                Page 15                                                      Page 17
      1   or three weeks. I couldn't hold anything down.        1          Q. Okay.
      2   Couldn't eat, couldn't think of nothing, couldn't     2          A. I mean, I'm going to need some time to
      3   sleep. Normally times that -- where I was             3      still rest, and I'm already overwhelmed in trying
      4   sleeping when I was employed eight hours, sleep       4      to do the things that I'm doing now. So it would
      5   narrowed down to three or four hours a night.         5      be very hard for me to try to fit a second job
      6       Q. Right.                                         6      into my schedule.
      7       A. I couldn't -- I couldn't barely do             7          Q. Let's see. Beyond the stomach
      8   anything but just sit and think where my next         8      complaint -- pain that you had and beyond the
      9   income was coming from.                               9      diarrhea, were there any other physical issues
     10       Q. Okay. During the period of time, the          10      that arose from this? You mentioned you couldn't
     11   nine months between the beginning of '24 and when    11      sleep and that's an emotional type thing. But
     12   you started work for Alcorn State, what did you do   12      anything else that you can think of?
     13   for income in the absence of a job?                  13          A. Well, yes, I mean I couldn't eat.
     14       A. Well, I had opportunity to draw my            14          Q. Okay.
     15   unemployment. It was $235 a week.                    15          A. I mean half of the time when I got home
     16       Q. Okay. So about 900 a month or                 16      I couldn't think about what I had to do. I had to
     17   thereabouts?                                         17      try to take care of my mom. She's 84 years old,
     18       A. Yes.                                          18      trying to take care of her. So that put a very
     19       Q. How long did that last?                       19      lot of strain and stress on me. I couldn't do the
     20       A. I think I got that for 24 or 25 weeks,        20      things that I really wanted to do that I once was
     21   something like that.                                 21      doing.
     22       Q. So about six months?                          22          Q. Right. And I think you said that went
     23       A. Yes, sir, and it came to an end.              23      on for at least three or four weeks thereafter?
     24       Q. Okay.                                         24          A. After --
     25       A. And it still wasn't enough to pay bills.      25          Q. After you were let go. And I use the


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                                               Page 18                                                      Page 20
      1   term -- you could say fired or not rehired or let    1          A. Oh, that had been some years ago.
      2   go.                                                  2          Q. Yes, ma'am.
      3       A. Well, after I got terminated, that            3          A. It has been.
      4   stress went on for a long time.                      4          Q. Okay. And how long have you been
      5       Q. Okay. How long?                               5      lieutenant by the end of '23?
      6       A. Probably until I got another job.             6          A. By the end of 23, I may have been
      7   Because I didn't have any source of income to        7      lieutenant maybe over 8 to 10 years, probably over
      8   really take care of my needs that I really wanted    8      10 years.
      9   to take care of.                                     9          Q. Okay. And that job paid 18 to 19 per
     10       Q. So that would have been until September      10      hour?
     11   of '24?                                             11          A. No.
     12       A. Yes, sir. Somewhere along that time.         12          Q. How much did lieutenant pay?
     13       Q. All right. Going into, you know, the         13          A. It was before then -- see, I first
     14   issues, your particulars. I'm going to be looking   14      started off as a correction officer.
     15   at things, and I can let you see them if you need   15          Q. Correct.
     16   them.                                               16          A. And I moved up to sergeant.
     17       A. Yes, sir.                                    17          Q. Correct.
     18       Q. But I'll start with the complaint. And       18          A. Then I moved to up lieutenant. When I
     19   because every person in the complaint has their     19      was the lieutenant I think I had moved up to about
     20   section, and yours is first. So, I've got           20      16, $17.
     21   paragraphs 15 to almost 100 that we'll be going     21          Q. Okay.
     22   through with everybody. But starting with you,      22          A. That was with the raise that he had
     23   because you're the first one up in the complaint    23      given us the month before I got terminated.
     24   --                                                  24          Q. Okay. So when you say the raise he,
     25       A. Yes, sir.                                    25      "he" being Sheriff Bailey?


                                               Page 19                                                      Page 21
      1       Q. -- you began work at the facility on          1          A. Sheriff Bailey.
      2   April of '97?                                        2          Q. Gotcha. Okay.
      3       A. Yes, sir.                                     3             And coming down to paragraph -- and a
      4       Q. And looks like Peter Walker was the           4      lot of this, lawyers writeup so we don't have to
      5   sheriff at that time?                                5      ask about it so we can get to the lick-log.
      6       A. Yes, sir.                                     6          A. Yes, sir.
      7       Q. And he served, as I understand it, until      7          Q. Paragraph 32, "May 21, 2023, Ms. Smith
      8   -- would have been 2019 was the election for him.    8      attended a town hall community forum where
      9   Because he would have come on in -- because state    9      everyone" -- because every candidate for elective
     10   officers are elected the year before the            10      office in Jefferson County, Mississippi attended.
     11   presidentials, like '23.                            11      You recall going to that forum or town hall?
     12       A. Yes, sir.                                    12          A. When was it, May when?
     13       Q. So he was on until 2019?                     13          Q. May 21st?
     14       A. Yes, sir.                                    14          A. I think it was around May 2nd or
     15       Q. Okay. And at that point, that's when         15      something. It was on a Tuesday night.
     16   Sheriff Bailey came in?                             16          Q. Okay.
     17       A. Yes, sir.                                    17          A. I want to say May 2nd or May 5th. It
     18       Q. Okay. And did you work for anyone in         18      was on a Tuesday night.
     19   that particular campaign, the 2019 campaign,        19          Q. Gotcha.
     20   whether it be Peter Walker or Sheriff Bailey?       20             And if I read that paragraph correctly,
     21       A. No.                                          21      that was like an all candidates forum?
     22       Q. All right. And at some point -- in           22          A. Yes, sir.
     23   paragraph 17 it says, "Carolyn Smith was promoted   23          Q. Did all the candidates for sheriff show
     24   to sergeant and later promoted to lieutenant."      24      up to your knowledge, or do you remember?
     25   When did you make sergeant?                         25          A. Yes, sir.


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      1       Q. All right. Now, at that particular             1      because it says May 31st, but it sounds like this
      2   meeting -- and we'll say May 2nd, that's what you     2      was the day after the town hall meeting that
      3   were saying -- do you recall saying anything for      3      Sheriff Bailey called you in?
      4   any candidates in that one or you were there just     4         A. It was after the town hall meeting, that
      5   to be there and watch?                                5      day. I don't think it was that far down in May.
      6       A. I was just there to support. Because it        6      Because it was held in my community of Union
      7   was a town hall meeting that was held in my           7      Church.
      8   district, and I was just there to listen to           8         Q. Right. Okay.
      9   candidates.                                           9              Was anyone in that meeting other than
     10       Q. Gotcha.                                       10      him and you?
     11          Now, we just finished municipal               11         A. No, sir.
     12   elections, and I'm sure Fayette had its elections    12         Q. Okay. Did anybody take an audio or -- I
     13   too, and so we had those town halls all over Gulf    13      know there wasn't no video. But any audio or
     14   Coast.                                               14      anybody take any notes at the time?
     15       A. Yes, sir.                                     15         A. No, sir.
     16       Q. And so it says on paragraph 33, "On           16         Q. Okay. When that occurred on May 3rd,
     17   May 31st of 2023, Sheriff Bailey called Carolyn      17      Ms. Smith, did you mention that to anyone else at
     18   Smith" -- in other words, you -- "into his office    18      the time, that hey, whether it be a supervisor or
     19   and impliedly threatened to take adverse             19      the Secretary of State or anybody saying I've got
     20   employment action against her because he said he     20      a sheriff that I work for that is, I feel --
     21   heard you're not for me."                            21      that's asking me, you know, am I supporting him
     22       A. Yes.                                          22      and I've got to have people who support me. Did
     23       Q. Tell me what happened.                        23      you remember talking to anybody about that?
     24       A. On the day after the town hall meeting,       24         A. I didn't call anyone at a Secretary of
     25   the next morning at about 8:30 or 9:00 I was         25      State office. I went back and I talked to my


                                                Page 23                                                      Page 25
      1   called into Sheriff Bailey's office. I think          1      supervisor about the conversation that I had with
      2   Ms. Kolenberg(phonetic), she called back and she      2      Sheriff Bailey.
      3   said Sheriff Bailey wanted to see you in his          3          Q. And who was that?
      4   office.                                               4          A. Clifton Kaho.
      5        Q. Gotcha.                                       5          Q. And what did he say?
      6        A. Upon arriving in his office, he said          6          A. He wanted to know why would he call you
      7   take a seat. And I said yes, sir. He said I'm         7      to talk to you about that. I said I don't know.
      8   hearing the community people saying that you're       8      Because he was saying that -- I said he told me
      9   not supporting me.                                    9      that he didn't need nobody on his team that was
     10        Q. Okay.                                        10      not going to support him.
     11        A. I said I don't get into election until       11          Q. Okay. Let me ask you a question very
     12   it's my time to get into my own election. He said    12      closely on that phrase. "He didn't need anyone on
     13   well, I can't have nobody on my team that's not a    13      his team that did not support him." Did he use
     14   supporter of me.                                     14      the term "support his election?"
     15        Q. Okay.                                        15          A. Well, that's basically what he was
     16        A. He also asked me on that last night,         16      talking about, supporting his election.
     17   which was the town hall meeting, "Who did you talk   17          Q. I understand. I understand that's what
     18   to on your phone, who did you call?" I think I       18      you picked it up from. But I'm trying to get as
     19   told him it must have been -- I recall talking to    19      exact words as possible as to what the sheriff
     20   my mom. He said, "Who else did you call?" Then       20      said to you about "I need everybody on my team
     21   that's when I told him this was my personal phone.   21      that's supporting." Did he use the term
     22   It's not Jefferson phone. I didn't think that I      22      "supporting me" or "supporting me in my election?"
     23   owe him an explanation of who I talked to            23          A. It's supporting me in my election
     24   personally on my own cellphone.                      24      because I don't need know backbiters.
     25        Q. Okay. Now, in this conversation --           25          Q. All right. And you basically told


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      1   Warden Kaho that the sheriff had come and asked       1          Q. Do you know who the inmate was?
      2   basically asked about your participation?             2          A. McCullom. His last name was a McCullom.
      3      A. Yes, sir.                                       3          Q. Okay. All right. So where I'm going is
      4      Q. And that he basically said, I don't need        4      on May -- some time a couple of days or a few days
      5   anybody that will not support me in my election?      5      after the first -- the town hall, you had the
      6      A. Yes, sir.                                       6      discussion with Sheriff Bailey, what was the next
      7      Q. And then you've already told me what            7      occasion which you had to speak with Sheriff
      8   Warden Kaho said. Was there anything that was         8      Bailey regarding your job or that election?
      9   done with that?                                       9          A. If you said that was in May. I've had
     10      A. No, sir.                                       10      several encounters with him maybe in July.
     11      Q. Did you double-back to Warden Kaho and         11          Q. Okay.
     12   say look, I didn't hear back from you, what's        12          A. July, coming up to it. Because it was
     13   going on?                                            13      still, everybody was saying that I was going to be
     14      A. I didn't.                                      14      terminated. Each time that I've gone to him and
     15      Q. Did the sheriff say anything else              15      I've talked to him, he told me I don't know where
     16   between that encounter in December of '23 about      16      you're getting your information from. That's not
     17   the election to you?                                 17      true. I never said anyone was getting fired. He
     18      A. Yes, sir, I've had several meetings.           18      said I only asked you-all to redo your application
     19      Q. All right. Well, let's discuss the next        19      for the same reason. Four years ago everybody
     20   meeting after that. When was that?                   20      else did their -- all of you-all reapplied for
     21      A. The next meeting that I had with him, we       21      your job. He said I never had any intention of
     22   had to redo our applications.                        22      getting rid of anyone.
     23      Q. Okay.                                          23          Q. Okay.
     24      A. I never got an interview.                      24          A. Numerous occasions he have told me that.
     25      Q. Okay. All right.                               25          Q. Okay.


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      1          Now -- I didn't want to cut you off, but       1        A. I've gone in Sheriff Bailey's office at
      2   I was asking as far as what was the month and         2     least about three or four times to discuss whether
      3   year, if you can say, of the next time you spoke      3     he was going to fire me.
      4   with Sheriff Bailey about reapplying or keeping       4        Q. Right.
      5   your job?                                             5        A. You know, because it was so many --
      6       A. Well, when the rumors got out that --          6     people knows me in the street and they would tell
      7   from the community, the people said that you are      7     me, you know, what he's saying.
      8   going to be terminated. I went several times to       8        Q. Okay.
      9   speak with him, call him and ask him for a meeting    9        A. And I noticed that there was a change in
     10   to talk to him about that. I've even talked to       10     my sheriff, because you're the leader of my county
     11   him and asked him about an inmate family member      11     and I have a position in your office. You will
     12   called me one day -- she was checking on her         12     need things to come and ask me. But when you come
     13   husband, and she called me and she said oh -- I      13     over there to see things, you will walk in and you
     14   answered the phone. And she said oh, you're still    14     never speak to me. I could see you out and you
     15   employed. I say why would you say that. She          15     never would speak to me.
     16   said, well, I spoke with Sheriff Bailey about that   16        Q. Okay. I will sort of tell you where I'm
     17   you was going to be gone, you and your niece.        17     coming from. Because if we go to trial, Carroll
     18   Just give him a little time, y'all will be gone.     18     will be asking -- because Carroll's good at this,
     19       Q. And who that was lady?                        19     he's going to be asking you please tell me each
     20       A. She was an inmate's wife.                     20     and every occasion that you spoke with the sheriff
     21       Q. Okay. And what was her name?                  21     and what he had said about the election or your
     22       A. I can't think of her name right now.          22     job.
     23       Q. Okay.                                         23        A. Yes, sir.
     24       A. I really can't. I should have written         24        Q. And so that's kind of what I'm doing,
     25   it down.                                             25     because I've got to prepare a defense and let


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      1   everybody know. And so, you've mentioned several      1         Q. Okay. And that's exactly how he put it?
      2   occasions. If I were to break this down month by      2         A. That's exactly how he said it.
      3   month between May of '23 and December of '23,         3         Q. Okay. And you took that to mean the
      4   would that help? Because what I'm looking for are     4      election?
      5   dates and who was in the room, and what was said      5         A. The election, and he was going to
      6   by each party on each one of those occasions where    6      terminate.
      7   he brings up what you had to say.                     7         Q. Did he say he was going to terminate
      8        A. Each time that I've gone into his office      8      you?
      9   it's only been me and him.                            9         A. He didn't say it exactly. But the terms
     10        Q. Okay.                                        10      of him telling me that "I don't need nobody on my
     11        A. It was no one else taking notes. It was      11      team that's not supporting me," that's -- as me as
     12   always me and him. Either any time that he calls     12      being an elected official, that's what I would
     13   you in his office for anything, it would only be     13      think it would be.
     14   just him in the office with you.                     14         Q. But I'm trying to get as exact as
     15        Q. Okay. And we'll kind of -- we'll start       15      possible what the words were. And the reason
     16   this way. Between May of the first meeting that      16      being is if we go to trial and you say that and
     17   we talked after the town hall, and December 31st     17      there's something different, if I didn't ask these
     18   of 2023, on how many occasions do you recall him     18      questions I'd kind of be out in left field. So, I
     19   talking to you about your support for someone else   19      want to make sure as best you recall this is how
     20   and/or the job?                                      20      he put it?
     21        A. About five times I've gone to him. I         21         A. That is how he put it.
     22   can't say what month, but I just know that it was    22         Q. Got it.
     23   all about five times that I've had to call and ask   23             And then you understood it the way you
     24   him can I meet with him about certain things that    24      described it?
     25   I was hearing in the streets about my job, my        25         A. Yes, sir.


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      1   employment. I've even told him that my job --         1          Q. Yes, ma'am. Okay.
      2   this job is where I make my living. This is my        2             Is there anything else in those
      3   life here. And I say any other -- all of our          3      conversations that you can recall that he might
      4   coworkers here, because a lot of them that was        4      have said?
      5   there, a lot of those people were living from         5          A. I had gone to a funeral one time. And
      6   paycheck to paycheck. Because I can attest they       6      as acquainted with other sheriff and long as I've
      7   was not making the money that I was probably          7      been in the building, I've had the opportunity to
      8   making. Some of them was less.                        8      talk to sheriffs all over the state of
      9       Q. Okay.                                          9      Mississippi. At one funeral I had an encounter to
     10       A. And I've spoke to him on numerous -- I        10      run into Sheriff Patton of Adams County. And he
     11   don't know the exact date, but I've gone to him      11      and I sat together. And after the services,
     12   several times.                                       12      didn't think of nothing, because even Shawn Jones,
     13       Q. Okay. And you mentioned five times?           13      I've had the opportunity to work in the prison
     14       A. Yes.                                          14      with him for several years before he went to state
     15       Q. Is that a good number?                        15      trooper school.
     16       A. Yes, sir.                                     16             He asked Sheriff Patton -- we took a
     17       Q. We'll go at it kind of this way. Within       17      picture together and Mr. Jones at a funeral.
     18   those five occasions, is there anything that he      18      Sheriff Bailey was there. He asked me about why
     19   said or you said that was different than this        19      did you take a picture with them at the funeral.
     20   first one, which is "I hear you're not supporting    20      I said these are people I've been knowing for
     21   me," "I need people to support me"?                  21      years. It doesn't mean anything.
     22       A. He told me that if I -- if we cannot --       22          Q. Okay.
     23   if I can't get my act together in supporting him,    23          A. Sheriff Patton is a person that I
     24   that he didn't need nobody on his team that was      24      changed his Pamper. I held him on my side for
     25   against him.                                         25      many years. Being acquainted with his mother --


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      1   was my manager of my group. So I basically knew       1      Union Church, Mississippi. Didn't interact with
      2   these guys from day one, birth one.                   2      my own family with my being there. Didn't speak
      3       Q. Right.                                         3      or talk with me there.
      4       A. I didn't have any reason that if you           4          Q. What did you -- or did you really do
      5   asked me to take a picture -- it wasn't nothing.      5      anything for anybody's campaign?
      6       Q. Right. Did Sheriff Bailey say anything         6          A. No, sir, I didn't do anything.
      7   about that?                                           7          Q. Because if you attended town halls, and
      8       A. Yes, sir, he did.                              8      there might be a couple of them, you were just
      9       Q. What did he say?                               9      there to watch everybody?
     10       A. He asked me, he said the day at the --        10          A. I was just there to watch.
     11   well, he mentioned -- this is how he say, "The day   11          Q. And, you know, he did ask you if you
     12   at J.L. Hammet's mother funeral I saw you take a     12      would support him and you were basically that's my
     13   picture with Sheriff Patton and Jones. What was      13      business?
     14   that about?" I said, it wasn't nothing, it was       14          A. I told him I'm going to vote, but I
     15   just a picture.                                      15      didn't say who I was going to vote for.
     16       Q. Right.                                        16          Q. Right. And so in your mind he just
     17       A. I said, these guys -- Jones, I worked         17      assumed that it was going to be Shawn or somebody
     18   with for years in the prison. Sheriff Patton,        18      else?
     19   basically, if you would talk with him he will tell   19          A. Right.
     20   you I'm his auntie. Because that's how close we      20          Q. Got it. After the election -- well,
     21   were. You know, I said it really didn't mean         21      strike that.
     22   nothing. It was just people I knew.                  22             After December of '23, did Sheriff
     23       Q. Gotcha.                                       23      Bailey tell you anything directly about what
     24          And what did he say in response?              24      happened?
     25       A. Well, he didn't like it.                      25          A. I never spoke with him. After I got my


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      1       Q. Well, what did he say?                         1      letter -- once I got my letter on December -- I
      2       A. He said it was like disrespecting me as        2      think it was December the 31st. When a deputy
      3   your sheriff and disrespecting me as you working      3      delivered my letter, he said you can -- but the
      4   for me.                                               4      deputy told me he had a letter for me. He said,
      5       Q. Okay. And when was that?                       5      Sheriff said do not give you this letter if you
      6       A. That was -- it was one of the times -- I       6      don't sign for it. I said, well, I will have
      7   can't -- I know the Hammet's mother passed away,      7      to -- I'm going to read things before I sign for
      8   it was in '23. It was before election.                8      it. He said you've got to sign for it. I said I
      9       Q. Gotcha.                                        9      will not sign it.
     10          And when we say "before election," are        10          Q. Okay.
     11   we talking primary election or general election?     11          A. So the deputy said well, okay,
     12       A. The primary election.                         12      Ms. Smith, I'll let you read the letter and you
     13       Q. Because I'm guessing in Jefferson County      13      will sign it. So, he gave me the letter and I
     14   the democratic primary election is the election?     14      read the letter. I did not sign it.
     15       A. Yes, sir.                                     15          Q. Okay. And when he said, or the deputy
     16       Q. Got it. All right.                            16      said sign, it was just signed for receipt of it
     17          Anything else that you can recall             17      like a certified receipt letter or --
     18   Sheriff Bailey saying to you about your job or       18          A. It's signed that I agreed to that I got
     19   your participation in his campaign prior to          19      the letter.
     20   December of '23?                                     20          Q. Okay. All right. I got it.
     21       A. Nothing that I could recall. Because,         21              And so -- and nevertheless, you got the
     22   actually, after those meetings he shut down and      22      letter, you didn't sign for it, and Sheriff Bailey
     23   stopped talking and speaking to me.                  23      never talked to you about it?
     24       Q. All right.                                    24          A. He never talked to me. I never called
     25       A. He even came to my family reunion out in      25      him.


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      1       Q. Gotcha.                                        1      contraband that had been thrown over a wire?
      2          Did you file a grievance?                      2          A. No, sir.
      3       A. I did.                                         3          Q. Okay. Do you recall being in a room
      4       Q. With whom?                                     4      with your niece, who's here, Ms. McComb?
      5       A. From where in the facility that we             5          A. Yes, sir.
      6   worked, if an employee has a grievance matter, you    6          Q. How did that -- and so tell me how that
      7   will file that grievance with your supervisor.        7      went. Just, generally, from first to last, what
      8       Q. Right. And that would have been the            8      do you recall?
      9   chief of security?                                    9          A. Just randomly whenever he had -- must
     10       A. That would have been -- or Warden             10      have had -- well, he had her in a meeting over
     11   Kaho -- well, the chief of the security, which       11      there. The phone rang. He called me, said Ms.
     12   would have been Henry Felton.                        12      Smith, I need you in a meeting over here. So, I
     13       Q. Right. Was he a major?                        13      got up to go over to his desk, over to his office,
     14       A. He was a major then.                          14      to see what the meeting was about. He
     15       Q. All right. And then what, if anything,        15      interacting, putting me something I had nothing --
     16   happened as a result of your filing the grievance?   16      no recollection of what was going on. He told me,
     17       A. Well, it didn't go through the proper         17      he say, well, I got your niece in here. He say
     18   way. Because initially, when I tried to tell the     18      Ms. McComb was -- contraband came over the fence.
     19   board of supervisors how I supposed to file my       19      And the inmates told him the contraband was
     20   grievance, they told me that you are supposed to     20      supposed to have been -- she was supposed to catch
     21   file your grievance with the sheriff. I said         21      the contraband. But I said Sheriff, that's a day
     22   that's not the facility protocols, because why       22      that she wasn't at work. You know, that didn't
     23   would I file the grievances and give it to the       23      add up to make very much sense. If she was going
     24   person that I'm filing the grievances on. It         24      to have contraband to come in, why would you have
     25   should have gone to my immediate supervisor and      25      contraband to come in on a day that you're not at


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      1   worked its way up the ladder to the sheriff.          1      work?
      2          So, times went on by and we did file a         2          Q. How did you know she was not at work if
      3   grievance -- well, I did file a grievances. I         3      she's not in your line?
      4   gave it to -- Henry Felton, at the time, was a        4          A. Because I'm the lieutenant at the
      5   major. And he told me he would get back with me.      5      prison. Any time that a person is out or not
      6   After weeks and months went by, Ms. Roberson, a       6      coming to work, their supervisor will bring the
      7   lady that had gotten there, she said let her --       7      form up to me and say hey, Ms. Smith or --
      8   she had to read the policy to see how the             8      Shaquita McComb didn't come to work or she wasn't
      9   grievances go. So she told me that -- she called      9      at work. During that time I think she was at work
     10   me back and she said Ms. Smith, I'm going to         10      but she had gotten off. Her shift had ended.
     11   certify letter you another grievances because the    11          Q. Okay.
     12   one that y'all did, it wasn't done right. She        12          A. The contraband came after she had gone
     13   said it was just like you said, it were supposed     13      home. So I asked him if the contraband came after
     14   to have gone to Major Felton. She said but I'm       14      she had gone home, how can you say it was for her
     15   going to give you an opportunity to do another       15      and another person that was on duty had already
     16   one. She sent it out. At that time, I had hired      16      arrived.
     17   a counsel.                                           17          Q. Okay.
     18       Q. So, I guess the end result of that was        18          A. He said, because the inmate told me.
     19   you got a second form. But at that point, you had    19          Q. Right. How did you know when, exactly,
     20   Carroll?                                             20      the contraband had been thrown on the wire that
     21       A. Because a grievance has to be filed           21      got hooked onto it?
     22   within the 10 days of your termination.              22          A. When the sheriff called and told me
     23       Q. Right. Gotcha. Okay.                          23      about it in a meeting. I didn't know anything
     24          Now, are you familiar with an incident        24      about it.
     25   in January of '23, around January 23rd, with some    25          Q. Because that's what I'm trying to get


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      1   at. He was saying that an inmate had told him         1      skipped over her supervisor and came directly to
      2   that Ms. McComb was involved in an incident where     2      me. He skipped over the major, the captain, the
      3   contraband was thrown over a wire?                    3      warden and the deputy warden. But you came
      4       A. Uh-huh. (Affirmative response.)                4      directly to me and you came directly to me
      5       Q. You indicated that it didn't happen at a       5      because, I guess, she was my niece.
      6   time when it she was on duty?                         6         Q. Well, you're the second tier supervisor
      7       A. Yeah, that's what I was trying to              7      over her, as I understand the chain of command.
      8   understand, why did it come -- if it was for          8      She was in section -- shift B or shift A?
      9   her --                                                9         A. What shift was that? I think it was
     10       Q. Right.                                        10      shift B. I think it was B shift.
     11       A. -- why didn't it come while she was at        11         Q. And there would be a shift commander for
     12   work if she was supposed to catch it?                12      the facility for -- that was her direct
     13       Q. When was it thrown over the wire?             13      supervisor?
     14       A. After she had gone home, sometime late        14         A. She had a -- direct supervisor was
     15   that evening or that night.                          15      Sergeant Walters.
     16       Q. Okay.                                         16         Q. Very good. And you, as lieutenant, were
     17       A. She worked at a day shift. And that was       17      over Sergeant Walters?
     18   my question to him. If it was for Ms. McComb         18         A. Yes, sir.
     19   working on a day shift, why would you schedule a     19         Q. And then you reported to chief of
     20   package to come in when you're gone home.            20      security, at that time, Major Felton?
     21       Q. Okay. Who mentioned when it was thrown        21         A. Well, after I came back. Because I
     22   over the wire?                                       22      really didn't know what I was going over to the
     23       A. Sheriff Bailey did.                           23      meeting for.
     24       Q. All right. So he was claiming that it         24         Q. Well, I'm looking at chain of command on
     25   was thrown over at night?                            25      the organizational chart. So on that day it would


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      1       A. It was thrown over in the evening shift.       1      have been the sergeant over Ms. McComb?
      2   It was.                                               2         A. Yes, sir.
      3       Q. Okay. Now, I'm going to ask you this:          3         Q. From there, it would have been you?
      4   I hear you saying that Sheriff Bailey told you        4         A. Yes, sir.
      5   that it had been thrown over at night.                5         Q. And from there, it would have been
      6       A. Right.                                         6      Warden Felton as chief of security -- not warden,
      7       Q. Do you have any independent recollection       7      but Major Felton?
      8   outside of what he told you as to when it was         8         A. We had a captain. It would have been
      9   thrown over?                                          9      the captain, which was Captain Duveaux(phonetic).
     10       A. Of any outside?                               10      From Captain Duveaux, it would have went up to
     11       Q. Sure.                                         11      Major Felton. From Major Felton, it would have
     12           Other than Sheriff Bailey saying that,       12      been to the warden -- or the deputy warden and
     13   did you have any other information that supported    13      then the warden.
     14   that it had been thrown over at night?               14         Q. Who was the -- the warden at the time
     15       A. I think that if our -- once we get on         15      was?
     16   down into it, if I can say her name, Ms. Sanders,    16         A. Clifton Kaho was the warden at the time.
     17   she was on duty that night when it came in. And      17         Q. And Major Felton reported directly to
     18   if I'm not mistaken, Ms. Sanders was over there --   18      him?
     19   over on that side.                                   19         A. No, Major Felton reported to a deputy
     20       Q. Okay.                                         20      warden, Deputy Warden Brenda Doss(phonetic).
     21       A. That was at the sheriff department side       21         Q. And what was Deputy Warden Brenda Doss'
     22   in the back county jail. Basically, I work over      22      rank?
     23   at the prison. I go over there only if they need     23         A. She was a deputy warden and she was the
     24   me to go over there to supervise something. She      24      office manager.
     25   has an immediate supervisor that was on duty. He     25         Q. Because when you look at the


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      1   organizational chart, the office manager doesn't     1          A. Yes, sir.
      2   go between the chief of security. It's one of the    2          Q. I was wondering -- the question would
      3   ones in the horizontal line, of which chief of       3      be, do you know when it was found?
      4   security's here and office manager's here.           4          A. After she was gone home. On the next
      5      A. Yes, sir.                                      5      shift. It wasn't on her shift. It was on the
      6      Q. Case manager's on the other side.              6      next shift.
      7      A. Yes, sir.                                      7          Q. So some time during the night it was,
      8      Q. But what you're indicating is that in          8      both, thrown over and found?
      9   actuality, the office manager also functioned as     9          A. Yes, sir.
     10   another layer in the chain of command between the   10          Q. All right.
     11   two?                                                11             As lieutenant -- well, we'll continue
     12      A. Yes, sir.                                     12      through.
     13      Q. Okay. So do you know if the sheriff had       13             So, what happened after that discussion?
     14   talked to any of these people?                      14      Was that pretty much the end of it at that point?
     15      A. I don't know.                                 15          A. That was the end of it. I didn't hear
     16      Q. All right. Fair enough.                       16      anything else about it. I didn't -- you know, my
     17           So you're in the meeting, and it turns      17      question, if it was for her and you was the
     18   out that the discussion is -- who brought the       18      sheriff, why didn't you do action on -- take
     19   idea, or who brought the point up that this         19      action on it right then and there, if you had all
     20   happened at night and Ms. McComb was working day    20      your information, you should have done action on
     21   shift?                                              21      it.
     22      A. Well, Sheriff Bailey gave me the time         22          Q. Well, let me ask a couple -- while we're
     23   that it was thrown over the fence.                  23      relating on that point.
     24      Q. Gotcha.                                       24             So tell me what a lieutenant would do at
     25      A. He gave me the time that it was thrown        25      the facility, because that's the role you had.


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      1   over the fence. And I said Sheriff Bailey, well,     1      What was your job function?
      2   McComb was gone home by then. He said well, the      2          A. As a lieutenant, my job was to -- first
      3   inmates said it was for her.                         3      thing, maintain safety and control of all inmates.
      4       Q. Okay. And then what happened?                 4          Q. All right.
      5       A. And he said well, I'm just going off          5          A. My job would be, I would go around, I
      6   what the inmates said, it's for her. I said well,    6      would do a research of the zone, inspect
      7   if she's gone home and the other officer or the      7      everything, make sure that my officer, the
      8   supervisor there that does a parameter check at      8      correction officer -- well, they wasn't my
      9   night, they would have saw that -- the package       9      immediate -- my supervisor -- if I went down and
     10   wouldn't have stayed there until she gotten back    10      found something that was out of the ordinary, I
     11   the next morning. Because if you're doing your      11      will come back and I will have a meeting with the
     12   parameter every night of the facility, you're       12      supervisor of that shift.
     13   going to pick it up.                                13          Q. Right.
     14       Q. Okay. Do you know when it was found?         14          A. And from that supervisor of that shift,
     15       A. I don't know.                                15      I will do a report. And then I will go through
     16       Q. Okay. All right.                             16      the chain of command to get it to my captain. I
     17       A. When it was found, as of the time, it        17      will speak with my captain about it.
     18   was found after McComb was gone home.               18          Q. Right.
     19       Q. I understand. But do you know if it was      19          A. And the captain will go on up the chain
     20   in the night or in the next morning?                20      of command.
     21       A. It was during that night. It didn't          21          Q. Okay.
     22   happen over in the next morning. It was during      22          A. But at that prison I've had several
     23   the course of that night after McComb had gotten    23      roles. I was the lieutenant. My job was to -- on
     24   off.                                                24      a day shift if an inmate rolled in or rolled out,
     25       Q. Okay. And that's when it was thrown.         25      a lot of time it was my responsibility to take


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      1   them in and out of the system to put them to where    1      manager, who might have had a second hat as the
      2   they was going. I was also over the clothing of       2      captain, Brenda Doss?
      3   the inmates, to make sure that every six months       3         A. No, Brenda Doss was the deputy warden.
      4   that they will get their issue. I will have to        4         Q. Deputy warden.
      5   keep up with the inventory of when I need to order    5         A. The captain was Captain Michael Duveaux.
      6   clothes, when I need to order shoes or underwear,     6         Q. So you reported to Captain Duveaux?
      7   everything. I would report those order to the         7         A. Yes, sir.
      8   young lady up front and tell her this is what         8         Q. And then he reported --
      9   we're short of.                                       9         A. -- to Major Henry Felton.
     10          Just, basically, constantly doing             10         Q. Major Henry Felton, who was chief of
     11   walk-throughs during the course of the day to make   11      security?
     12   sure that everything -- make sure -- my main thing   12         A. He was the chief of security.
     13   was to make sure that my count was clear. We had     13         Q. So, he was a major, and he reported to
     14   a timeframe of my count should clear within no       14      Brenda Doss?
     15   more than seven or eight minutes. If it's            15         A. Brenda Doss.
     16   anything over the seven or eight months that I       16         Q. Who was a captain?
     17   couldn't get my count clear, then I would call       17         A. She was a deputy warden.
     18   everybody in from their destination to send them     18         Q. So she didn't have a rank?
     19   back to their dorm, do a head count by paper every   19         A. She had a rank of deputy warden. She
     20   day.                                                 20      was the office manager and the deputy warden.
     21       Q. Right. And that's an inmate count that        21         Q. I'll let you see where I'm going. You
     22   you're referring to?                                 22      had lieutenant, then you reported to a captain,
     23       A. That's an inmate count, yes, sir.             23      who then reported to --
     24       Q. How many people directly, or indirectly,      24         A. No -- yes, I would report it to the
     25   were under you at the facility?                      25      captain, the captain would report to the major,


                                                Page 51                                                      Page 53
      1       A. Just the supervisors.                          1      the major would have reported to the deputy
      2       Q. And how many COs did they have under           2      warden, and the deputy warden would report to the
      3   them?                                                 3      warden. Then the warden -- if they have to go any
      4       A. It was hard to tell because some nights,       4      further, the warden will report it to the sheriff.
      5   some days they will have two and three people on      5         Q. Got it.
      6   shift. We never was staffed -- whenever they are      6             Did anyone over the rank of major, which
      7   not there we couldn't staff it, I will have to        7      would be Major Felton, have a rank, or after that
      8   fill in the place of a correction officer to do       8      was just all title, like deputy warden, warden and
      9   the thing that they did, walk around, count,          9      sheriff?
     10   transport inmates to and from medical, transport     10         A. That's all we had there.
     11   them to lunch or where they needed to go.            11         Q. Got it.
     12           On a daily full shift, I would say it        12             Other than office manager -- well, we'll
     13   would have taken at least 7 to 10 people to run a    13      start with Captain Duveaux, because that's who you
     14   shift.                                               14      reported to?
     15       Q. Okay.                                         15         A. Yes, sir.
     16       A. And it never was that.                        16         Q. What was his title?
     17       Q. Right. And while you didn't -- you were       17         A. He was the captain.
     18   basically over the supervisors, the shift            18         Q. Okay.
     19   supervisors?                                         19         A. He was the dietician.
     20       A. Yes, sir.                                     20         Q. Okay.
     21       Q. And they, in turn, supervised the             21         A. And -- well, I wouldn't say -- well,
     22   correctional officers?                               22      dietician because -- his office was in the
     23       A. Yes, sir.                                     23      kitchen. He was responsible for ordering the
     24       Q. And they reported to you. And as I            24      food, make sure the inmate measure up the food,
     25   understand, you then reported to the office          25      serve the right amount of food, check in trucks


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      1   that comes in, and he was the one that order food.    1      saw problems?
      2       Q. All right. And was he in charge of             2          A. Yes, sir.
      3   security?                                             3          Q. Okay. And then you would, basically,
      4       A. At times, he were. That should have            4      inform the chain of command up the chain, this is
      5   been his major job as a captain, to be in             5      what I did, so if you see --
      6   security, but he had several hats to wear and         6          A. Yes, sir.
      7   other jobs to do.                                     7          Q. -- something different --
      8       Q. Got it.                                        8          A. Long as it was in the guidelines of
      9          If there was a problem that you needed         9      MDOC, the policy.
     10   help in resolving within the facility that related   10          Q. And to your knowledge that was never a
     11   to security, contraband, those kinds of things,      11      problem. No one ever said you can't do that?
     12   you would report your concerns to him?               12          A. No, sir.
     13       A. I was supposed to report everything to        13          Q. Got it.
     14   him. But he was a captain that didn't come out of    14             Did Sheriff Bailey get your advice
     15   the kitchen so I will have to go over to Major       15      and/or the advice of the shift supervisors at any
     16   Felton or my warden. Those were the peoples that     16      particular time about particular issues, whether
     17   would help me out. Because we had a captain that     17      it be a microwave or water intrusion or some --
     18   was on duty, but his major job was in the kitchen.   18      the count didn't go out, anything like that?
     19   He never helped us on the floor with anything.       19          A. No, sir.
     20       Q. I follow you.                                 20          Q. All right. Ms. Smith, I've got some
     21          And I think you testified earlier you         21      medical records. I'm going to basically let --
     22   could also speak to the warden?                      22             MR. CARPENTER: If you want to get a
     23       A. Yes, sir.                                     23      copy of those, Carroll, that will be perfectly
     24       Q. Okay. And if you had concerns, you'd          24      fine. I'm just going to ask her some questions
     25   tell him, too, make sure he knew?                    25      about medical records that we produced. But I can


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      1       A. Yes, sir.                                      1      give you a chance to look at it first if you want
      2       Q. Fair enough.                                   2      to.
      3       A. In my role as a lieutenant, there was          3             MR. RHODES: I think Cheryl --
      4   nothing that I will have to go to the sheriff for.    4             MR. CARPENTER: Cheryl -- that's right.
      5   I will be stepping over the rest of them -- the       5      She sent them.
      6   change{sic} of command if I stepped over and went     6             MR. RHODES: I think she sent them to me
      7   straight to the sheriff.                              7      so I won't hold up on trying to get a copy.
      8       Q. Right.                                         8             MR. CARPENTER: No sweat.
      9          But did you on occasion?                       9             And what we'll do is we'll just make
     10       A. No.                                           10      that -- we'll do notice of deposition as Exhibit 1
     11       Q. Okay. So if I understand what you're          11      and then this will be Exhibit 2.
     12   telling me -- because I understood that you spoke    12             (Exhibit 1 marked for identification.)
     13   to the sheriff on numbers of times before you were   13             (Exhibit 2 marked for identification.)
     14   finally -- before the end of December of '23. If     14             MR. RHODES: I went through these
     15   I'm understanding at this point you're saying that   15      yesterday when Cheryl sent them. Are you going to
     16   if you ever had any concerns you would report,       16      have all of them?
     17   perhaps not the captain because he was holding a     17             MR. CARPENTER: Sure. I'll make them
     18   lot of hats, but you would let Major Felton know     18      collectively. That way it's easier than going
     19   who then would either report it to the office        19      page by page with exhibit numbers.
     20   manager/deputy warden or to Warden Kaho himself?     20             MR. RHODES: Are those Bates numbers at
     21       A. Yes, sir. That was anything pertaining        21      the bottom?
     22   to inmates that I couldn't handle.                   22             MR. CARPENTER: They do have numbers,
     23       Q. Got it.                                       23      and I'll refer to them. They have medical page
     24          And did you have the ability to               24      numbers so we can use them. So I'll do that so
     25   basically come up with solutions yourself if you     25      that when we're looking at this down the road


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      1   we'll be able to identify what they are.              1      insurance. I could not afford to accumulate a
      2       Q. (By Mr. Carpenter) Ms. Smith, I'm going        2      bill that I couldn't afford to pay.
      3   to let you look at this as well. But what I have      3          Q. Right.
      4   is -- as I understand it, the last day of your        4          A. This was the only primary insurance that
      5   employment was December the 31st, 2023?               5      I had. So I couldn't afford to go to see any
      6       A. Yes, sir.                                      6      psychiatrist or anything that they wanted me to go
      7       Q. I have a medical record from Jefferson         7      see.
      8   Comprehensive Health Center.                          8          Q. Right.
      9       A. Yes, sir.                                      9          A. So both of those doctors gave medicine
     10       Q. This is going to be dated January the         10      for depression. Dr. Bounds gave me some kind of
     11   3rd of 2024, so it would have been a few days        11      psychotropic something that he said only take it
     12   after your last day of work. Do you recall going     12      at night. Because once you take it, in five
     13   to the facility at that time?                        13      minutes you'll be sleep.
     14       A. Yes, sir.                                     14          Q. Okay. I'm only focusing on this visit
     15       Q. What do you recall going for?                 15      for January 3rd of 2024 for Crystal Cook. And I
     16       A. Anxiety, stress.                              16      would agree with you, that form doesn't require
     17       Q. This is what I want you to look at.           17      signing. That's a depression intake form that --
     18   Were you depressed at the time?                      18      and by the way, for Jefferson Health Center, they
     19       A. Depressed.                                    19      do that every visit, as well as a respiratory,
     20       Q. Do you recall filling out a depression        20      which is also there.
     21   screening?                                           21          A. Yes, sir.
     22       A. We didn't sign anything when we went          22          Q. Do you recall Nurse Cook asking you any
     23   there -- well, I didn't sign any depression screen   23      questions about depression?
     24   when I went to see --                                24          A. Yes, sir.
     25       Q. Do you recall anyone asking you about a       25          Q. Now, it indicates in the depression


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      1   depression screening form?                            1      screening that you -- that in an answer to the
      2      A. No, sir.                                        2      question, little interest or pleasure in doing
      3      Q. Okay. Because that indicates that there         3      things, the response was not at all. And feeling
      4   was -- that you had a total score of 0, that you      4      down depressed or hopeless, it said not at all.
      5   were not feeling down, depressed or hopeless.         5      But you don't recall actually telling her these
      6      A. What doctor is this from?                       6      tings?
      7      Q. This would be with Crystal Cook?                7         A. No, sir.
      8      A. Crystal Cook. Do you have one from              8         Q. All right. Do you recall her ever
      9   Turner?                                               9      asking, or any intake nurse ever asking, you these
     10      Q. I have one from Matthew K. Bounds, would       10      questions when you went to Jefferson?
     11   be the next visit. Who would Turner be? Because      11         A. She asked me how did I feel. I told her
     12   these are the records from Jefferson                 12      very depressed. Now she said, do you feel that
     13   Comprehensive.                                       13      you have the depression of wanting to do something
     14      A. Okay. They're not saying that they put         14      to yourself or someone else. I said to myself,
     15   me on any medicine for depression or anything?       15      because this is the lowest I've ever been.
     16      Q. Well, we'll probably get to some of            16         Q. Right.
     17   that. Because there are other records we'll roll     17             Because in this particular medical note,
     18   through. I just basically wanted to see if you       18      there's nothing about depression or where you were
     19   recall filling out a depression inventory, which     19      saying you might -- you know, you might have
     20   they have on there?                                  20      suicidal, passive or active. And so that's why I
     21      A. No, sir, I didn't sign any depression          21      was asking if you recall saying that on this
     22   form. Only thing that -- when I went there and       22      particular occasion on January 3rd.
     23   they asked me how do I feel and everything, they     23         A. Right.
     24   offered to send me to some place in Jackson. I       24         Q. There are other records, but for this
     25   told her this month was the last month of my         25      one do you recall?


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      1      A. Yes, I've told each -- both of them.            1      a result of your being let go?
      2   Each when I've been to Dr. Turner, and I told to      2           A. Yes, sir. Because he asked me what was
      3   Dr. Cook.                                             3      you depressed about. I said I just lost my job
      4      Q. And Dr. Cook, by the way, is a nurse;           4      and not knowing where else to start at.
      5   she's a family nurse prac --                          5           Q. Gotcha.
      6      A. She a nurse practitioner.                       6              And did he recommend any medication
      7      Q. Uh-huh. (Affirmative response.) You             7      specifically for depression?
      8   got it.                                               8           A. Yes. Whatever the medication that he
      9      A. Both of them.                                   9      give, I'm assuming that that's what it was for.
     10      Q. All right. Because it does mention             10           Q. Do you recall anything else about that
     11   hypertension and that you were visiting her for a    11      visit with Nurse Bounds?
     12   medication refill on January 3rd; do you recall --   12           A. No, sir.
     13      A. I did because my blood pressure pills          13           Q. Fair enough.
     14   had ran out.                                         14              Now we're going to get to January the
     15      Q. Right. Okay. That's all I've got for           15      31st of 2024.
     16   that.                                                16              MR. CARPENTER: And to put on this
     17      A. Thank you.                                     17      record, just in case, these records are numbered a
     18      Q. You're welcome. That is Pages 39               18      little differently because they're coming from
     19   through 44 of 211 of your medical records.           19      Bounds Family Medicine. So these pages would be
     20           This is on January the 22nd of 2024.         20      19 to 21 of 50, which means there's 50 total
     21   And this would be with Nurse Bounds at the Bounds    21      pages.
     22   Family Clinic. Do you recall telling him anything    22           Q (By Mr. Carpenter) Now we're back to a
     23   about depression?                                    23      Jefferson Comprehensive Heath Center medical note.
     24      A. Yes, sir, I do.                                24      This one's dated January 31st of 2024. And in
     25      Q. Okay. I will say there's nothing in            25      this case you had a depression screening, and you


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      1   this particular medical note about depression.        1      were seeing -- this would have been with Nurse
      2   But I want you to look at it first because I can      2      Turner. Do you recall LaKeitha Turner?
      3   overlook stuff, being 60 years old.                   3          A. Yes, sir.
      4      A. (Reviewing.)                                    4          Q. All right. And in this case, this is a
      5      Q. But you do recall telling Nurse Bounds          5      depression screening. Do you recall filling that
      6   that you were depressed?                              6      particular one out?
      7      A. Yes, sir, I do.                                 7          A. I remember she's asking me a question
      8      Q. And what did he tell you in response?           8      about depression and stuff like that and how I
      9      A. He wrote me out a prescription that             9      feel.
     10   would give me sleep time. Because I told him I       10          Q. Did you mention any suicidal thoughts?
     11   was not sleeping at all.                             11          A. I told her sometime I thought about it.
     12      Q. Because there's a lot of medications, as       12          Q. Okay.
     13   you can tell, down the list. Do you remember what    13          A. But I didn't know whether I would do it
     14   the name of that medication was?                     14      or not.
     15      A. I don't recall, but I can -- I mean I          15          Q. Okay. Now, when these -- because
     16   should have gone to my drug store and got it. But    16      obviously none of us, other than you, were in on
     17   I do have some of my medicine here that I'm on.      17      this meeting. Did you get like a computer screen
     18      Q. Now, he did mention -- it does say             18      where you hit -- because you can look at the form
     19   insomnia, which is can't sleep?                      19      and it's got checkmarks?
     20      A. Yeah, I think that's what it was.              20          A. No, sir, I never touched a computer
     21      Q. And you had mentioned -- or he had             21      screen when I went in that doctor's office.
     22   prescribed something called Zopiclone. Does that     22          Q. Got it.
     23   sound familiar?                                      23              So if anybody's doing the checkmarks on
     24      A. Yes, sir.                                      24      this, it's going to be Nurse Turner?
     25      Q. But you were clear with him this was as        25          A. Must have been them after I left. I


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      1   never touched a screen.                              1      got from Wal-Mart to try to make me sleep.
      2      Q. When you were seeing her, did she have a       2         Q. Gotcha.
      3   computer screen up or an iPad?                       3             This is a -- we're back to Bounds Family
      4      A. Yes. They have a computer screen that          4      Medicine.
      5   once you're there, she'll go look at it and see      5             And just for the record on that one, so
      6   what medicine that you're on and what she's going    6      that we're keeping up with things. By the way,
      7   to prescribe me.                                     7      we're getting the home stretch at just about
      8      Q. And I know you -- did you see her maybe        8      10:00, so we're making the time we needed. These
      9   check these forms as you were there?                 9      notes would be 27 to 37 of 211. We keep saying
     10      A. No, sir.                                      10      that so when me and him look at a month from now,
     11      Q. Okay. And I guess where I'm getting at,       11      ah-ha, it's that page.
     12   she might have, she might not have, but you         12         A. Yes, sir.
     13   weren't watching her do it?                         13         Q. So this is back to Bounds. This is a
     14      A. Right.                                        14      medical note from June 20th of 2024. Pages 22 to
     15      Q. There you go. Okay.                           15      24. And I'm just going to have you look at this
     16          And it indicates that in this depression     16      and see do you recall discussing anything with
     17   screening on March 31st that you're down nearly     17      Nurse Bounds about depression on that particular
     18   ever day?                                           18      visit? I will say there's an insomnia indication
     19      A. Yes, sir.                                     19      on it but nothing on depression.
     20          MR. RHODES: Is it March or --                20         A. I did discuss with him each time I
     21          MR. CARPENTER: I'm sorry, January 31st.      21      visit.
     22   Thanks, Carroll. That's right.                      22         Q. Yeah, there's just two more visits, so
     23      Q. (By Mr. Carpenter) So in this case she        23      we really are on the home stretch.
     24   said treatment was for anxiety disorder,            24             And I understand in these notes there's
     25   unspecified type. Obviously, I'm -- you told her    25      not a mention of depression, but you did tell him?


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      1   that you weren't working at the facility anymore     1         A. Yes, sir. I did.
      2   and that was causing you this problem?               2         Q. And did he prescribe anything
      3      A. Very stressful. Yes.                           3      specifically for depression, if you recall?
      4      Q. And it looks like she had prescribed           4         A. Yes, sir, he did.
      5   Celexa and Hydroxyzine?                              5         Q. Okay. And what did he prescribe?
      6      A. Yes, sir.                                      6         A. It was some type of sleep medicine.
      7      Q. Did you take those medications?                7         Q. Because he does mention refilling your
      8      A. Yes.                                           8      Losartan, which is your hypertension.
      9      Q. Did you get them refilled?                     9         A. Yes.
     10      A. Couldn't afford them.                         10         Q. That's a potassium tablet.
     11      Q. Okay. And how long did the anxiety and        11             And this means something to doctors and
     12   depression continue?                                12      nurses and not to the rest of it. But PRN means
     13      A. It lasted a while, over six or seven          13      return whenever you want to as opposed to a
     14   months.                                             14      specific.
     15      Q. Okay. And the reason I bring it up is         15         A. Yes, sir.
     16   because when I -- I may have asked that one         16         Q. Did he tell you just come back whenever
     17   generally earlier. And if so, I apologize. You      17      you need to?
     18   mentioned something, that it really went on until   18         A. Well, he told me to come back in two
     19   September when you started at Alcorn?               19      weeks, but I couldn't afford to pay him no $125 a
     20      A. Yes. I mean, to go to sleep at night          20      visit.
     21   every -- I could tell you a week after my           21         Q. All right.
     22   medicine, I could drink Nyquil all night and it     22             Then we're on -- and this is, again,
     23   would knock me out. I would take me at least        23      next to the last one. This is -- and we've
     24   three or four cups of Nyquil in order to sleep. I   24      covered those notes in terms of the page numbers.
     25   would take over-the-counter sleep medicine that I   25      These are page -- Pages 15 to 17 of 211 of the


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      1   Jackson{sic} Health Center Records.                   1         A. Yes, sir.
      2          In this case you went back to Nurse            2         Q. And it looks like -- this is now the
      3   Turner. Do you recall telling her --                  3      last note I'm going to go into. Again, this was
      4          MR. RHODES: What's the date?                   4      taken by Germany King. Do you know Nurse King?
      5          MR. CARPENTER: Sure. August 26 of              5         A. Yes, sir.
      6   2024.                                                 6         Q. And at this point your weight is
      7      Q. (By Mr. Carpenter) So this is about the         7      317.8 pounds. So that sounds about right?
      8   end of eight months following your not working for    8         A. Yes, sir.
      9   the facility. And it indicates the reason for         9         Q. Okay. All right.
     10   appointment was bilateral foot pain on this visit.   10             And, once again, the depression
     11   And she did a depression index on that one as well   11      screening on here is 0.
     12   that indicated that you had no depression. Did       12         A. Yes, sir.
     13   you mention to her that you were still suffering     13         Q. But would you say that as of March of
     14   from depression, anxiety?                            14      '25, that would be accurate?
     15      A. Yes, sir, I did. I asked her can she           15         A. Yes.
     16   prescribe some kind of medication that wasn't so     16         Q. Fair enough. All right.
     17   high that I can afford. And she told me the only     17             I think that's all I have.
     18   thing that she could give me was the one that I      18         A. Yes, sir.
     19   was already on that would suppress my depression.    19      EXAMINATION BY MR. RHODES:
     20      Q. Okay.                                          20         Q. I'm just going to ask her about the --
     21      A. And I told her I've gone back to the           21      well, I might do two or three.
     22   drug store from the prescription that you have       22             Organizational chart and the general
     23   given me. Those bottles was 200 something dollars    23      policies.
     24   and I couldn't afford that.                          24             MR. CARPENTER: Okay. Organization
     25      Q. And what was her response?                     25      chart?


                                                Page 71                                                     Page 73
      1      A. She told me she was going to get back           1             MR. RHODES: Uh-huh. (Affirmative
      2   with me once she find out -- if she find out any      2      response.)
      3   lower doses or something that I can take for a        3             MR. CARPENTER: And there's some
      4   lower amount.                                         4      policies on here, too.
      5      Q. All right.                                      5             MR. JOHNSON: Yeah.
      6      A. And I never heard from her.                     6             MR. CARPENTER: Make them one exhibit,
      7      Q. Okay. Now, it's fair to say, I'm                7      collectively.
      8   guessing, you haven't seen these records before?      8             MR. RHODES: Yeah, yeah.
      9      A. No, sir, I have not.                            9             MR. CARPENTER: Okay. So this will be
     10      Q. So, she would be the one to talk to            10      X-3.
     11   about why these depression scores are at 0?          11             (Exhibit 3 marked for identification.)
     12      A. Right.                                         12             MR. RHODES: The medicals are two,
     13      Q. Now, you had mentioned that you had lost       13      right?
     14   weight. And I'm just going to go back real quick.    14             MR. CARPENTER: Yeah, the notice of
     15   Because on January the 3rd of 2024, a few days       15      depositions will be 1, just to cover us.
     16   after. It indicates on Page 39 that you were at a    16          Q. (By Mr. Rhodes) Ms. Smith, I'm going to
     17   weight of 335.                                       17      hand you what's been marked as Exhibit 3. The
     18      A. Uh-huh. (Affirmative response.)                18      first page of that, and ask if you can look at it
     19      Q. And then on August of 2024, your weight        19      and then tell us what it is?
     20   was 327, according to this. Does that sound about    20          A. The first page, coming from top?
     21   right?                                               21          Q. Uh-huh. (Affirmative response.) Is
     22      A. It probably was.                               22      that the organizational chart of the --
     23      Q. And in March of 2024, you were at              23          A. Yes, sir.
     24   318 pounds, which was about a weight loss of about   24          Q. -- health center -- Franklin --
     25   nine pounds. Is that what you're referring to?       25          A. Jefferson Franklin Correctional


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      1   Facility?                                             1      equal opportunity.
      2       Q. Correctional Facility.                         2          A. Yes, sir.
      3       A. Yes, sir, it is.                               3          Q. And was there a policy in place that
      4       Q. In that organizational chart, who is           4      there would be no discrimination against any
      5   your immediate supervisor?                            5      employee for any political or religious opinion?
      6       A. My immediately supervisor would have           6          A. Yes, sir.
      7   been Captain Duveaux.                                 7          Q. Okay. I'm going to ask you one more
      8       Q. And did Captain Duveaux have a                 8      question. Of the folks who were running for
      9   supervisor above him?                                 9      sheriff in that -- it was a democratic primary?
     10       A. Captain would have -- the major would         10          A. Yes, sir.
     11   have been above him.                                 11          Q. Were you related to any candidate?
     12       Q. And above the major?                          12          A. Derrick Stampley. We share the same
     13       A. Above the major would have been the           13      father.
     14   deputy warden.                                       14          Q. That's your brother?
     15       Q. Were you a confidential employee of the       15          A. That's my brother. We share the same
     16   sheriff?                                             16      father.
     17       A. No, sir.                                      17          Q. That's all I have.
     18          MR. CARPENTER: I'm going to object            18      EXAMINATION BY MR. CARPENTER:
     19   because that's a legal conclusion, but you can ask   19          Q. Question about security issues.
     20   all the time you want to.                            20             Is contraband a security issue?
     21       Q. (By Mr. Rhodes) Did the sheriff ever          21          A. Yes, sir.
     22   talk to you about any policy issues?                 22          Q. And you were, in fact, called in,
     23       A. No, sir.                                      23      because you testified that you did get called in,
     24       Q. Did the sheriff ever talk to you about        24      to the discussion between the Sheriff and
     25   any security issues?                                 25      Ms. McComb regarding what happened with the

                                                Page 75                                                      Page 77
      1       A. No, sir.                                       1      contraband. And the discussion was well, that
      2       Q. If you could turn to the second page,          2      happened at night shift and not the day shift.
      3   I'm going to ask you about the policy. Were these     3         A. Yes, sir.
      4   policies that the Correctional Facility had in        4         Q. Okay. So that was at least one security
      5   place?                                                5      issue that you did talk directly with the sheriff
      6       A. Yes, sir.                                      6      about?
      7       Q. Was there a policy about retaliating           7         A. That I could recall about it.
      8   against an employee for their political               8         Q. Okay. Did you ever talk with him on any
      9   participation?                                        9      occasion, whether it be alone or in a group of the
     10       A. No, sir.                                      10      other officers that were between you and the
     11       Q. Was there a policy in place?                  11      sheriff regarding anything relating to security?
     12       A. Was -- is there a policy in place?            12         A. About contraband?
     13       Q. Yes.                                          13         Q. Oh, no, just any security issue. Could
     14       A. I don't think I've seen that.                 14      be inmate counts, could be anything.
     15       Q. Okay. If you can look at that first           15         A. No, sir, not -- well, inmates count. At
     16   paragraph. Number two. Look at number two.           16      certain time, the sheriff will come over if he
     17       A. Number two. Okay. Yes, sir, that is in        17      been got a call from a outsider parent saying I
     18   place.                                               18      want my child to come to your facility. And the
     19       Q. Was this a policy that the Correctional       19      sheriff will come over and ask me -- give me an
     20   Facility had in place?                               20      inmate number to pull up this person off MDOC
     21       A. Yes, sir.                                     21      record.
     22       Q. That there would be no discrimination         22         Q. Sure.
     23   for political or religious activity or beliefs?      23         A. I will pull up that inmate and go
     24       A. Yes, sir.                                     24      through things about that inmate to discuss things
     25       Q. And if we look at the third page, about       25      that he didn't know about Correctional that I knew


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      1   out of 27 years. And that was the only thing         1               CERTIFICATE OF DEPONENT
                                                               2     DEPONENT: CAROLYN SMITH
      2   that -- you know, he would come quite often to             DATE: April 18, 2025
                                                               3     CASE STYLE: Smith, et al vs. Jefferson County,
      3   tell me about that, to pull up certain inmates for         Mississippi, et al
      4   him.                                                 4     ORIGINAL TO: MR. CARPENTER, ESQ.
                                                                            I, the above-named deponent in the
      5       Q. And then now that we mentioned the chain      5     deposition taken in the herein styled and numbered
                                                                     cause, certify that I have examined the deposition
      6   of command and Major Felton came up, did Major       6     taken on the date above as to the correctness
      7   Felton ever tell you anything -- because there was         thereof, and that after reading said pages, I find
                                                               7     them to contain a full and true transcript of the
      8   a note that you had passed on, a handwritten note          testimony as given by me.
                                                               8            Subject to those corrections listed below,
      9   that Major Felton may have explained something to          if any, I find the transcript to be the correct
     10   you about why you weren't still working with the     9     testimony I gave at the aforestated time and place.
                                                                     Page Line                   Comments
     11   facility?                                            10    ____ ____ _______________________________
                                                                     ____ ____ _______________________________
     12       A. Yes, sir, he did. Major Felton, he came       11    ____ ____ _______________________________
     13   to visit me. Well, he came to my house to bring            ____ ____ _______________________________
                                                               12    ____ ____ _______________________________
     14   me something that I may have left there. And I             ____ ____ _______________________________
                                                               13    ____ ____ _______________________________
     15   asked him did the sheriff ever give him a reason           ____ ____ _______________________________
     16   why I was terminated. He said the sheriff said he    14    ____ ____ _______________________________
                                                                     ____ ____ _______________________________
     17   said because you didn't support him.                 15    ____ ____ _______________________________
                                                                     ____ ____ _______________________________
     18       Q. And that's how he put it?                     16    ____ ____ _______________________________
     19       A. Yes, sir.                                     17
                                                               18         This the ____ day of _________, 2025.
     20       Q. Because the reason I'm asking is -- and       19                       ____________________
                                                                                        CAROLYN SMITH
     21   I can let you see the handwritten note, that's no    20    State of Mississippi
     22   big deal, and probably should because it's not             County of ______________
                                                               21
     23   fair to ask you questions about it. I'm not sure             Subscribed and sworn to before me, this the
                                                               22    _____ day of _____________, 2025.
     24   we need to make it an exhibit. But, it indicates     23    My Commission Expires:
     25   that Warden Felton said, "I was going around         24    _____________________ _______________________
                                                               25                     Notary Public


                                                Page 79                                                                    Page 81
      1   talking too much. I asked about what. He stated       1               CERTIFICATE OF COURT REPORTER
      2   he just listened to all the rumors from other         2               I, Robin G. Burwell, Court Reporter and
      3   peoples." Do you recall --                            3       Notary Public, in and for the State of Mississippi,
      4        A. Yeah, that's what he said. And I said         4       hereby certify that the foregoing contains a true
      5   well, I want to know what was I talking about.        5       and correct transcript of the testimony of CAROLYN
      6   Because peoples talk to me because I'm an elected
                                                                6       SMITH, as taken by me in the aforementioned matter
                                                                7       at the time and place heretofore stated, as taken by
      7   official. But I never talks about election if
                                                                8       stenotype and later reduced to typewritten form
      8   it's not my own election.                             9       under my supervision by means of computer-aided
      9        Q. And when you say "election", because in      10       transcription.
     10   Jefferson County you are elected to the school       11               I further certify that under the authority
     11   board?                                               12       vested in me by the State of Mississippi that the
     12        A. Yes, sir.                                    13       witness was placed under oath by me to truthfully
     13        Q. And not appointed?                           14       answer all questions in the matter.
     14        A. Right.                                       15               I further certify that, to the best of my
     15        Q. Okay. I think that's it.                     16       knowledge, I am not in the employ of or related to
     16            (Time Noted: 10:16 a.m.)                    17       any party in this matter and have no interest,
     17              SIGNATURE/NOT WAIVED                      18       monetary or otherwise, in the final outcome of this
     18                                                        19       matter.
                                                               20               Witness my signature and seal this the
     19   ORIGINAL: MR. CARPENTER, ESQ.
                                                               21       30th day of April, 2025.
     20   COPY: MR. RHODES, ESQ.
                                                               22
     21                                                        23                     _______________________
     22                                                                               ROBIN G. BURWELL, #1651
     23                                                        24                     CRR, RPR, CCR
     24                                                                 My Commission Expires:
     25                                                        25       April 6, 2029


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